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       In the United States Court of Federal Claims
   Nos. 18-862C, 18-872C, 18-873C, 18-889C, 18-894C, 18-895C, 18-901C, 18-946C
                                  (consolidated)

                                 (Filed: October 1, 2018)

************************************** *
                                          *
FMS INVESTMENT CORP., et al.,             *
                                          *
                    Plaintiffs,           *
                                          *
v.                                        *
                                          *
THE UNITED STATES,                        *
                                          *           Motion for Clarification; Scope of
                    Defendant,            *           Injunction.
                                          *
and                                       *
                                          *
ALLTRAN EDUCATION, INC.,                  *
                                          *
                    Defendant-Intervenor. *
                                          *
                                          *
************************************** *

                                         ORDER

WHEELER, Judge.

        On September 28, 2018, the Government submitted a motion for clarification of the
permanent injunction issued by this Court on September 14, 2018. Specifically, the
Government asks whether the Court intended “to enjoin the Department of Education from
ever cancelling Solicitation ED-FSA-16-R-0009, regardless of whether a proper basis
exists.” Dkt. No. 101 at 2. The Government points out that this Court’s September 14,
2018 Opinion identifies specific deficiencies in the administrative record and expresses an
intent to return the procurement to its posture as of May 2, 2018, but that the literal
language of the Order appears to permanently bar the Department of Education from
cancelling the solicitation for any reason. Dkt. No. 101 at 1–2.
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        The Court clarifies that it intended only to enjoin the Department of Education from
cancelling the solicitation based on the administrative record that it submitted in this
proceeding. The Court’s Order “merely restores the posture of the process before the
illegal cancellation.” Parcel 49C L.P. v. United States, 31 F.3d 1147, 1154 (Fed. Cir.
1994). The Department of Education “retains the power to proceed with the award process
or to terminate the award process” for any legal, sufficiently supported reason. Id.

       Accordingly, the Government’s motion for clarification is GRANTED. The Court’s
September 14, 2018 Order is amended as follows: It is ORDERED that the United States
of America, the United States Department of Education, and their officers, agents, servants,
employees, and representatives are permanently ENJOINED, pursuant to RCFC 65(d),
from cancelling Solicitation No. ED-FSA-16-R-0009 on the basis of the administrative
record that the Department of Education relied on to justify its May 3, 2018 cancellation
decision.

       IT IS SO ORDERED.

                                                        s/ Thomas C. Wheeler
                                                        THOMAS C. WHEELER
                                                        Judge




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